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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v.
Crim. No. 17-201-2 (ABJ)
RICHARD W. GATES III,

Defendant.

 

JOINT STATUS REPORT

COMES NOW, the United States of America, by and through Special Counsel Robert S.
Mueller, 111, and the defendant through his counsel, and file this joint status report to provide the
Court With the current status of this matter.

1. On May 9, 2018, the Court ordered the parties to file a status report by no later than
August 12, 2018. Accordingly, the parties provide the following update: (1) the defendant has
testified in Um`ted States v. Manafort, 1218 Cr. 83 (TSE), a trial Which is ongoing in the Eastern
District of Virginia; (2) the defendant continues to meet With the Special Counsel’s Offlce as
required by his Plea Agreernent; and (3) the investigation, Which includes the possible continued
need for assistance frorn the defendant as required by his Plea Agreernent, is ongoing.

2. Accordingly, the parties respectfully request that they provide a joint status report
Within ninety days, no later than Novernber 10, 2018. A proposed Order is attached.

Attorneyfor Richard W. Gates 111
Respectfully submitted,

ROBERT S. MUELLER, lll

 

 

/S/ Thomas C. Green Special Counsel

Thornas C. Green (D.C. Bar No. 14498)

Sidley Austin LLP /S/Andrew Weissmann

1501 K Street, N.W. AndreW Weissrnann

Washington, D.C. 20005 Greg D. Andres (D.D.C. Bar No. 459221)
tcgreen@sidley.corn U.S. Department of Justice

(202) 736-8069 (telephone) Special Counsel’s Office

(202) 736-8711 (fax) 950 Pennsylvania Avenue NW

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Washington, D.C. 20530
Telephone: (202) 616-0800 Attorneysfor the Unz`ted States of Amerz'ca

